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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


WILLIAM D. ALLEN
and
DENICE R. ALLEN,                                                     Civil Action Number
                                                                     2:11-cv-02552-RDR
                   Plaintiff,
     vs.

M.R.S. ASSOCIATES, INC.,

                   Defendant.



                                    NOTICE OF SETTLEMENT


           COME NOW Plaintiffs by and through their attorney J. Mark Meinhardt and for their

Notice of Settlement, hereby states as follows:

1.         The Plaintiffs and the Defendant have reached a settlement.

2.         The Parties will file a Stipulation of Dismissal with Prejudice with each party to pay

           their or its own attorney’s fees and costs once the settlement documents have been

           executed by the parties and delivered to all counsel and the Plaintiff has received

           the settlement funds. The parties expect this to happen within the next sixty (60)

           days.

                                               Respectfully submitted,

Dated: March 26, 2012                          By: s/ J. Mark Meinhardt
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